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                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF LOUISIANA


   In re:
                                                                Case No. 17-12870
   REILLY-BENTON COMPANY, INC.,
                                                                Chapter 7
                     Debtors.
                                                                Section A




                              OPPOSITION TO MOTION FOR NEW TRIAL
                               WITH INCORPORATED MEMORANDUM

            Reilly-Benton Company, Inc., through undersigned counsel, hereby opposes the Motion for New

   Trial on Motion to Compel Reilly-Benton Company, Inc. [Dkt. 213] (“Motion”) filed by the Roussel &

   Clement Creditors1 (“Movants”) for the following reasons.

                                            I.    SUMMARY OF ARGUMENT

            Movants are now seeking to overturn this Court’s previous ruling pursuant to FRCP

   59/Bankruptcy Rule 9023, which ruling set parameters for the deposition of Warren K. Watters

   (“Watters”) as the corporate representative of the Debtor. Watters remains the only officer/director

   of the Debtor. The Movants have failed to demonstrate that this Court’s ruling was based on a

   manifest error of law or fact, or that they have newly discovered evidence.                    Movants are simply

   reiterating prior arguments and hoping for a different result.




   1 Movants motion reflects that the firm of Roussel & Clement represents claimants who have filed claims against Reilly-

   Benton Company, Inc., including Frank James Brazan, Pennie Ann Brazan Kliebert, Shane Anthony Brazan, Jason Joseph
   Brazan, and Carmel Theresa Brazan Bourg, Mary Patsy Soileau Courville, Mavis Todd Courville, Michael Wade Courville,
   and Joseph Eric Courville, Joseph Alfred Hedges, Jr. and Renee Hedges Blum, and Bonnie Ann Tregre Loupe, Lee Ann
   Tregre Cortez, and Sherry Tregre Cortez.



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                                                      II.      Argument

   A. Motion for New Trial

   1.       The Movants have requested a new trial pursuant to FRCP 59, which is applicable in

   bankruptcy cases through Bankruptcy Rule 9023. The authority to grant a new trial is confided almost

   entirely to the exercise of discretion on the part of the trial court.2

   2.       “There are three grounds for a court to grant a new trial under Rule 59(a)(2) of the Federal

   Rules of Civil Procedure: (1) manifest error of law; (2) manifest error of fact; and (3) newly discovered

   evidence. United States v. Schiffer, 836 F.Supp. 1164, 1169 (E.D.Pa.1993); Brown v. Wright, 588 F.2d 708,

   710 (9th Cir.1978); see 6A James W. Moore et al., Moore's Federal Practice, ¶ 59.07 (2d ed. 1993).” Wilcher

   v. City of Wilmington, 924 F.Supp. 613, 616 (D. Del.1996), aff’d in part, vacated in part, 139 F.3d 366

   (3d Cir.1998).

   3.       The Motion fails to identify a manifest error of law or fact. Though not stated specifically,

   the Movants apparently claim to have newly discovered evidence by suggesting that Cecile Watters

   Tebo (“Tebo”) can be the corporate representative of the Debtor since she testified as a vice-president

   of the company in 2004. This is not newly discovered evidence. Movants knew or should have known

   about Tebo’s prior testimony since Gerolyn Roussel, counsel for the Movants, attended Tebo’s

   deposition on November 8, 2004.3




   2 Allied Chemical Corp. v. Daiflon, Inc., U.S.1980, 101 S.Ct. 188, 449 U.S. 33, 66 L.Ed.2d 193. See, also, Spurlin v. General
   Motors Corp., C.A.Ala.1976, 528 F.2d 612, rehearing denied 531 F.2d 279; Sulmeyer v. Coca Cola Co., C.A.Ga.1975, 515 F.2d
   835, rehearing denied 520 F.2d 943, certiorari denied 96 S.Ct. 1148, 424 U.S. 934, 47 L.Ed.2d 341; Diapulse Corp. of America
   v. Birtcher Corp., C.A.N.Y.1966, 362 F.2d 736, certiorari denied 87 S.Ct. 9, 385 U.S. 801, 17 L.Ed.2d 48; Natural Resources,
   Inc. v. Wineberg, C.A.Cal.1965, 349 F.2d 685, certiorari denied 86 S.Ct. 617, 382 U.S. 1010, 15 L.Ed.2d 525; Mooney v.
   Henderson Portion Pack Co., C.A.Tenn.1964, 339 F.2d 64; Cross v. Thompson, C.A.Tenn.1962, 298 F.2d 186; Talon, Inc. v.
   Union Slide Fastener, Inc., C.A.Cal.1959, 266 F.2d 731; Hebron v. Brown, C.A.Va.1957, 248 F.2d 798; Trout v. Cassco Corp.,
   C.A.Va.1951, 191 F.2d 1022; Stephenson v. Steinhaver, C.A.N.D.1951, 188 F.2d 432.
   3 See Exhibit 2 to Motion, p. 2



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   B. The Debtor Cannot Produce a Representative Other Than Warren Watters.

   4.         For the deposition of corporation or organization, Federal Rule of Civil Procedure 30(b)(6)

   provides that “The named organization must designate one or more officers, directors, or managing

   agents, or designate other persons who consent to testify on its behalf.” Unfortunately, the only party

   qualified to testify on behalf of the Debtor is Watters. All other persons who would have been able

   to testify regarding the topics listed in the Notice of Deposition are deceased.

   5.         The Movants have now suggested that Cecile Watters Tebo (“Tebo”) can be the corporate

   representative of the Debtor since she testified that she was a vice-president of the company in 2004.

   Since 2011, Watters has been the sole officer/director of the Debtor.4 For Tebo to be a corporate

   representative of the Debtor, she would have to be a “managing agent” of the Debtor.

              The general rule is that former employees cannot be managing agents of a
              corporation. Colonial Capital, 29 F.R.D. at 515 (citation omitted) (recently retired Vice
              President of General Motors cannot be considered managing agent at time of
              deposition); see also Mitchell v. American Tobacco Co., 33 F.R.D. 262, 263 (M.D.Pa.1963)
              (former president of corporation not a managing agent after retirement); Frasier v.
              Twentieth Century–Fox Film Corp., 22 F.R.D. 194, 197 (D.Neb.1958) (corporation not
              required to produce former officer and director for deposition).

              In re Honda Am. Motor Co., Inc. Dealership Relations Litig., 168 F.R.D. 535, 540 (D.
              Md.1996)

   6.         Courts have discussed the designation of a “managing agent” for purposes of a Rule 30(b)(6)

   deposition and have identified certain criteria to determine if a person is a “managing agent”. Tebo’s

   status as a director in 2004 or 2010 is irrelevant to whether she is a managing agent of the Debtor for

   purposes of the current deposition of the Debtor. “Determining whether an individual qualifies as a

   “managing agent” of a corporation must be made at the time of the deposition. See, e.g., Curry v. States

   Marine Corp. of Del., 16 F.R.D. 376, 377 (S.D.N.Y.1954).” Id. at 540. The Debtor ceased operations

   many years ago and Tebo has not had any involvement with the Debtor since 2010 (at the latest).



   4   See Exhibit A, Annual Reports of Reilly-Benton Company, Inc. from 2010-2017.

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   7.         The determination of a party as a “managing agent” is fact intensive and decided on a case-

   by-case business.

              Courts have liberally construed the term managing agent, and the determination of
              whether an individual can be considered a “managing agent” of an organization is fact
              intensive,         decided        largely       on          a       case-by-case      basis.
              Founding Church of Scientology of Washington, D.C., Inc. v. Webster, 802 F.2d 1448, 1452 (D
              .C.Cir.1986) (“The law concerning who may properly be designated as a managing
              agent is sketchy. Largely because of the vast variety of factual circumstances to which
              the concept must be applied, the standard, like so many others in the law, remains a
              functional one to be determined largely on a case-by-case basis.”). The D.C. Circuit
              has noted that “[f]or the purpose of determining whether an individual is a ‘managing
              agent’ within the meaning of the discovery rules, ... the focus begins with the character
              of the individual's control.” Id. at 1452–53. Other factors include “both the degree to
              which the interests of the individual and the corporation converge, and how helpful
              the individual will be in fact-finding on the matter at issue, in comparison to others
              associated with the corporation.” Id. at 1453; see also E.I. DuPont de Nemours and Co. v.
              Kolon Indus., Inc., 268 F.R.D. 45, 48–49 (E.D.Va.2010) (stating that relevant factors in
              considering an individual's managing agent status include “(1) the discretionary
              authority vested in the person by the corporation; (2) the employee's dependability in
              following the employer's directions; (3) whether the individual is more likely to identify
              with the corporation or the adverse party in the litigation; and (4) the degree of
              supervisory authority in areas pertinent to the litigation.”).

              Rundquist v. Vapiano SE, 277 F.R.D. 205, 208 (D.D.C.2011)

   8.         Tebo does not satisfy any of the factors identified above. She has not been an officer or

   director of the Debtor since 2011. According to her deposition testimony, which is attached to the

   Motion as Exhibit 2, Tebo is social worker who only worked for the Debtor for “maybe a two-week

   period”.5

   9.         The Movants are seeking information regarding the Debtor’s relationship with certain insurers,

   the current status of pending litigation, reasons for filing Chapter 7, and settlement agreements

   between the Debtor and certain insurers. Tebo has not had any involvement with the Debtor for at

   least 10 years and does not have any knowledge of the topics which the Movants have identified.




   5   See Exhibit 2 to Motion, p. 19.

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   C. Warren Watters Will Testify as Ordered

   10.     As per this Court’s order, Watters will appear and testify pursuant to the guidelines set

   forth in the order. Movants have provided no additional evidence regarding why Watters’

   testimony should be longer than thirty (30) minutes and involve more extensive questioning.

                                            III.       Conclusion

           The Movants have not satisfied the requirement for a new trial pursuant to FRCP 59/

   Bankruptcy Rule 9023. The Motion has not identified any manifest errors of law or fact, or newly

   discovered evidence. The Movants are simply rehashing old arguments that were previously

   rejected by this Court. Accordingly, the Motion should be denied.

   DATED: September 12, 2022                         Respectfully submitted,

                                                     /s/ Albert J. Derbes, IV
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                                     CERTIFICATE OF SERVICE

           I hereby certify, that on September 12, 2022, a copy of the foregoing pleading was filed
   electronically with the Clerk of Court using the CM/ECF System for the United States Bankruptcy
   Court for the Eastern District of Louisiana and that notice of this filing is being served on the parties
   participating in this Court’s CM/ECF system for this case.

                                                   /s/Albert J. Derbes, IV
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                                                                       Exhibit "A"
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